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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )             4:98CR140-3
                                         )
                  Plaintiff,             )
                                         )
      vs.                                )
                                         )             ORDER
FRANK SHAMBURGER,                        )
                                         )
                  Defendant.             )

       IT IS ORDERED that the defendant’s motion to amend judgment (filing 167)
is denied.

      August 20, 2008.                BY THE COURT:

                                      s/ Richard G. Kopf
                                      United States District Judge
